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                 COURTS INTERROGATORIES TO PLAINTIFF MCGREGOR

1.        During what period of time were you employed by the Defendant?

       December 1, 2014 - present

2.       Who was your immediate supervisor?

       Larry Miles - from Dec. 2014 - Dec. 2017
       Mike Ossler - from Dec. 2017 - Present

3.        Did you have a regularly scheduled work period? If so, specify.

       Monday - Friday 8 am - 5 pm. 40 hours per week.

4.       What was your title or position? Briefly describe your job duties.

        Inside Parts Sales Representative – My job was to take orders that came in; find the part
in one of our two warehouses; specify the shipping, part, delivery, and total with the client; create
the invoice; and relay all information to the client and the warehouse associate.

5.       What was your regular rate of pay?

       $85,000 / year + Bonus
       $40.86 per hour
       $61.29 OT Rate

6.       What is the nature of your claim (check all that apply)?

          X Off the clock work (Defendant failed to record, or prohibited you from recording,
       all of your working time;

          X Misclassification (Defendant mistakenly classified you as exempt from overtime);

          X Miscalculation (Defendant failed to correctly calculate your compensation);

              Other (Please describe):

7.        Provide an accounting of your claim, including:

               (a)     Dates:

       Beginning March of 2015 until the present I have been taking additional calls after work
hours. Those dates are as follows, not accounting for coverage for other employees during
vacations, etc.



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     ---2015 Dates
     March 9 to March 15 – Days: 7
     March 23 to March 29 – Days: 7
     April 6 to April 12 – Days: 7
     April 20 to April 26 – Days: 7
     May 4 to May 10 – Days: 7
     May 18 to May 24 – Days: 7
     June 1 to June 7 – Days: 7
     June 15 to June 21 – Days: 7
     June 29 to July 5 – Days: 7
     July 13 to July 19 – Days: 7
     July 27 to August 2 – Days: 7
     August 10 to August 16 – Days: 7
     August 24 to August 30 – Days: 7
     September 7 to September 13 – Days: 7
     September 21 to September 27 – Days: 7
     October 5 to October 11 – Days: 7
     October 19 to October 25 – Days: 7
     November 2 to November 8 – Days: 7
     November 16 to November 22 – Days: 7
     November 30 to December 6 – Days: 7
     December 14 to December 20 – Days: 7
     December 28 to January 3, 2016 – Days: 7

     ---2016 Dates
     January 11 to January 17 – Days: 7
     January 25 to January 31 – Days: 7
     February 8 to February 14 – Days: 7
     February 22 to February 28 – Days: 7
     March 20 to March 26 – Days: 7
     April 17 to April 23 – Days: 7
     May 15 to May 21 – Days: 7
     June 12 to June 18 – Days: 7
     July 10 to July 16 – Days: 7
     August 7 to August 13 – Days: 7
     September 5 to September 11 – Days: 7
     October 3 to October 9 – Days: 7
     October 31 to November 6 – Days: 7
     November 28 to December 4 – Days: 7
     December 26 to December 31 – Days: 7

     ---2017 Dates
     January 1 to January 7 – Days: 7
     January 22 to January 28 – Days: 7
     February 5 to February 11 – Days: 7
     February 26 to March 4 – Days: 7

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       March 19 to March 25 – Days: 7
       April 2 to April 8 – Days: 7
       April 23 to April 29 – Days: 7
       June 14, 2017 to June 20, 2017 – Days: 7
       June 26, 2017 to July 2, 2017 – Days: 7
       July 10, 2017 to July 16, 2017 – Days: 7
       July 24, 2017 to July 30, 2014 – Days: 7
       August 7, 2017 to August 13, 2017 – Days: 7
       August 21, 2017 to August 27, 2017 – Days: 7
       September 4, 2017 to September 10, 2017 – Days: 7
       September 18, 2017 to September 24, 2017 – Days: 7
       October 2, 2017 to October 8, 2017 – Days: 7
       October 16, 2017 to October 22, 2017 – Days: 7
       October 30, 2017 to November 6, 2017 – Days: 7
       November 13, 2017 to November 19, 2017 – Days: 7
       November 27, 2017 to December 3, 2017 – Days: 7
       December 11, 2017 to December 17, 2017 – Days: 7
       December 25, 2017 to December 31, 2017 – Days: 7

       --2018 Dates
       January 8, 2018 to January 14, 2018 – Days: 7
       January 22, 2018 to January 28, 2018 – Days: 7
       February 5, 2018 to February 11, 2018 – Days: 7
       February 19, 2018 to February 25, 2018 – Days: 7
       March 12, 2018 to March 18, 2018 – Days: 7
       April 2, 2018 to April 8, 2018 – Days: 7
       April 23, 2018 to April 29, 2018 – Days: 7
       May 14, 2018 to May 20, 2018 – Days: 7
       June 4, 2018 to June 10, 2018 – Days: 7
       June 25, 2018 to July 1, 2018 – Days: 7
       July 16, 2018 to July 22, 2018 – Days: 7
       September 17, 2018 to September 23, 2018 – Days: 7
       October 15, 2018 to October 21, 2018 – Days: 7
       October 29, 2018 to November 4, 2018 – Days: 7
       November 19, 2018 to November 25, 2018 – Days: 7

        During these times I have been unable to get a second job or engage in hobbies or
enjoyment that I wanted to engage in due to the Defendant requiring a 10-minute turn around on
all calls. It necessitated me bringing my laptop, phone, and hotspot with me everywhere I would
go and would often require me to stop on the side of the road to enter orders and track down parts.
I was effectively engaged to wait on a call at all hours, many of which would wake me in my sleep.

               (b)    Regular hours worked:

       I worked 40 hours a week, Monday through Friday from 9:00 A.M. EST to 5:00 P.M. EST.



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               (c)    Over-time hours worked:

       Calls taken during after-hours period: 441
       Average length of time to conclude each call: 1 hour, 30 minutes.
       Total time calculated for all calls not compensated for: 661 hours, 30 minutes

       Additional time per day entering orders: 2 hours
       Number of days performed: 772+
       Total additional hours: 1,544

       Total week days worked engaged to wait: 370
       Total weekend days engaged to wait: 148
       Hours engaged to wait - Weekdays: 740
       Hours engaged to wait – Weekends: 2,366
       Total hours worked engaged to wait: 3,106

               (d)    Pay received versus pay claimed:

       Pay Received for time worked 2015 - 2018: $256,827.92
       Pay claimed for additional hours worked at end of shift: $94,631.76 Plus an equal
amount Liquidated
       Pay claimed as owed if only for calls: $40,543.33 Plus an equal amount Liquidated
       Pay claimed as owed for engaged to wait time: $190,366.74 Plus an equal amount
Liquidated

               (e)      Total amount claimed:

       $190,366.74 Plus an additional amount Liquidated.

8.       If you have brought this case as a collective action:

               (a)    Describe the class of employees you seek to include in this action.

       Not Applicable

              (b)     Has an opt-in notice been filed for every potential opt-in Plaintiff who
       has identified himself or herself as a person who wishes to join this action?

       Not Applicable

9.        Please specify all attorney's fees and costs incurred to date. With respect to attorney's
fees, please provide the hourly rate(s) sought and the number of hours expended by each person
who has billed time to this case.

       I have paid to date $600.00 which was for costs and fees. My attorneys have billed the
following:

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       Gary Wilson--- Attorney
       Rate: $375.00
       Hours: 0.4

       Paul Sutherland--- Attorney
       Rate: $225.00
       Hours: 12

10.       When did you (or your attorney) first complain to your employer about alleged violations
of the FLSA?

        I first made my complaints in February and March 2015. It was at this time that I was
asked to start taking calls in the after-hours. I disagreed with taking these calls but was led to
believe my job was at jeopardy had I not begun to do so. I subsequently complained about lack of
compensation for these calls on a continuing basis throughout the next years.

11.       Was this complaint written or oral? (If a written complaint, please attach a copy).

         My complaints were both written and oral. I became so stressed with the lack of staff to
assist in taking after hours calls, the failure to pay us, and the lack of personal time and enjoyment
that I resigned in July of 2017. Before emailing my resignation to Larry Miles, Parts Manager, in
July of 2017, I had emailed him numerous emails requesting that they hire more parts people,
reduce the number of hours we were working overtime and on call, and that our sales orders in
the parts department were getting busier every year since I started. I also met with him in his
office and he said he would see what he could do. Nothing ever came to fruition.

        I went to see James Cook in the human resources department to request an inquiry into
these practices, I asked for a new job description, and I told him my issues and concerns with all
the overtime hours, lack of pay for them, and needing more help. James Cook in human resources
told me he would talk to Larry Miles and see what he could find out. Again, nothing ever came out
of this. I thought I had no other choice than to quit because I was so exhausted mentally and
physically. I was afraid of going over my then current Manager Larry Miles’s head with my issues
in fear of losing my job prior to my resignation in July.

Please see attached my written complaints that I still have.

12.       What was your employer's response? (If a written response, please attach a copy).

        One of my emails was to Larry Miles when I resigned in July 2017. Within 10 minutes John
Elliot, President of Gencor, called me to ask why I was resigning. He left a voicemail on my work
cell phone. I called him the next day, on Saturday, and we had an approximate hour long call
about the issues. We then talked about meeting at the Orlando headquarters in Florida two weeks
later to have a meeting discussing overtime and the issues I was raising. This meeting did
happen. The first change I saw was eight months later when Gencor hired a new parts manager,
Mike Ossler. After hours calls and long hours still occurred though and no changes were made.

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 overlime in protest at the bottont. It was afier
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                                                                       03/14/19      Page told
                                                                         signed that Gencor 6 of 6 PageID 219
  us they   would not be valid. Please find those atlached as well.




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                                                  I-isa McGregor




           BEFORE ME. the undersigned authority, on this day, personally appeared Plaintiff
    Name. who being first duly sworn, deposes and says that he/she has read the fbregoing
    Answers to Interrogatories, knows the contents of same, and to the best o1' his/her
    knowlcdgc and belief, the same are true and correct.


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